             Case 23-02101-MM7                    Filed 07/25/23           Entered 07/25/23 13:31:20                  Doc 1        Pg. 1 of 42


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                New Beginnings Health Care, A Professional Medical Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8911 La Mesa Blvd., Suite 101
                                  La Mesa, CA 91942
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.newbeginningshealthcare.net


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             Case 23-02101-MM7                       Filed 07/25/23           Entered 07/25/23 13:31:20                          Doc 1        Pg. 2 of 42

Debtor    New Beginnings Health Care, A Professional Medical Corporation                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6211

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
              Case 23-02101-MM7                          Filed 07/25/23            Entered 07/25/23 13:31:20                       Doc 1       Pg. 3 of 42

Debtor    New Beginnings Health Care, A Professional Medical Corporation                                  Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
            Case 23-02101-MM7            Filed 07/25/23          Entered 07/25/23 13:31:20                    Doc 1    Pg. 4 of 42

Debtor   New Beginnings Health Care, A Professional Medical Corporation              Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million               $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million              $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million             More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
             Case 23-02101-MM7                   Filed 07/25/23            Entered 07/25/23 13:31:20                        Doc 1     Pg. 5 of 42

Debtor    New Beginnings Health Care, A Professional Medical Corporation                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 25, 2023
                                                  MM / DD / YYYY


                             X /s/ Patricia Deckert                                                       Patricia Deckert
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President/CEO




18. Signature of attorney    X /s/ Craig E. Dwyer                                                          Date July 25, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Craig E. Dwyer
                                 Printed name

                                 Craig E. Dwyer, Esq.
                                 Firm name

                                 8745 Aero Drive, Suite 301
                                 San Diego, CA 92123-1763
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     858-268-9909                  Email address      craigedwyer@aol.com

                                 74351 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
         Case 23-02101-MM7                    Filed 07/25/23             Entered 07/25/23 13:31:20                 Doc 1        Pg. 6 of 42




Fill in this information to identify the case:

Debtor name         New Beginnings Health Care, A Professional Medical Corporation

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 25, 2023                   X /s/ Patricia Deckert
                                                           Signature of individual signing on behalf of debtor

                                                            Patricia Deckert
                                                            Printed name

                                                            President/CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
            Case 23-02101-MM7                                      Filed 07/25/23                        Entered 07/25/23 13:31:20                                           Doc 1       Pg. 7 of 42

 Fill in this information to identify the case:

 Debtor name            New Beginnings Health Care, A Professional Medical Corporation

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                         Check if this is an
                                                                                                                                                                                         amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                    $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                       $           222,626.20

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                      $           222,626.20


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                    $           525,264.25


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                       $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                               +$           795,919.34


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                             $           1,321,183.59




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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          Case 23-02101-MM7                 Filed 07/25/23        Entered 07/25/23 13:31:20                  Doc 1          Pg. 8 of 42

Fill in this information to identify the case:

Debtor name      New Beginnings Health Care, A Professional Medical Corporation

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                           12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                         Current value of
                                                                                                                            debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                   Last 4 digits of account
                                                                                                 number
                 Wells Fargo

                 Subject to UCC1 17-7572287602
          3.1.   Bankers Health Group                            Checking                        0997                                     $1,516.34


                 Wells Fargo

                 Subject to UCC1 17-7572287602
          3.2.   Bankers Health Group                            Checking                        1003                                         $43.63


                 Wells Fargo

                 Subject to UCC1 17-7572287602
          3.3.   Bankers Health Group                            Checking                        0322                                             $7.13


                 Wells Fargo

                 Subject to UCC1 17-7572287602
          3.4.   Bankers Health Group                            Savings                         7499                                         $25.02


                 Wells Fargo

                 Subject to UCC1 17-7572287602
          3.5.   Bankers Health Group                            Savings                         7507                                         $28.01



Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                                 page 1
          Case 23-02101-MM7                   Filed 07/25/23               Entered 07/25/23 13:31:20                    Doc 1   Pg. 9 of 42


Debtor           New Beginnings Health Care, A Professional Medical                         Case number (If known)
                 Corporation
                 Name

                   Wells Fargo

                   Subject to UCC1 17-7572287602
          3.6.     Bankers Health Group                               Savings                              9682                                $32.58



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                              $1,652.71
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    18,510.59       -                                    0.00 = ....                   $18,510.59
                                       face amount                            doubtful or uncollectible accounts
                                       Subject to UCC1 17-7572287602
                                       Bankers Health Group


          11b. Over 90 days old:                       28,498.37       -                                   0.00 =....                     $28,498.37
                                       face amount                            doubtful or uncollectible accounts
                                       Subject to UCC1 17-7572287602
                                       Bankers Health Group

12.       Total of Part 3.                                                                                                            $47,008.96
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last              Net book value of         Valuation method used      Current value of
                                             physical inventory            debtor's interest         for current value          debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                           page 2
          Case 23-02101-MM7                  Filed 07/25/23             Entered 07/25/23 13:31:20                 Doc 1     Pg. 10 of 42


Debtor       New Beginnings Health Care, A Professional Medical                             Case number (If known)
             Corporation
             Name



21.       Finished goods, including goods held for resale
          Supplements in Store               2023                                    $2,549.53      Cost to Purchase                    $2,549.53



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                           $2,549.53
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                               Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used    Current value of
                                                                         debtor's interest          for current value        debtor's interest
                                                                         (Where available)

39.       Office furniture
          Desks, chairs, exam tables, refrigerators,
          shelves

          Subject to UCC-1                                                           $4,715.00      Liquidation                         $4,715.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          18 computers, 6 printers, 14 phones, 2
          centrifuge, 2 ozone generators

          Subject to UCC-1                                                           $6,800.00      Liquidation                         $6,800.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 3
          Case 23-02101-MM7                  Filed 07/25/23         Entered 07/25/23 13:31:20                Doc 1     Pg. 11 of 42


Debtor       New Beginnings Health Care, A Professional Medical                        Case number (If known)
             Corporation
             Name


43.       Total of Part 7.                                                                                                       $11,515.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used    Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value        debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Body Sculpting Laser

          Subject to UCC-1
          Value arrived at by reviewing similar machine
          online.
          Debtor is unsure if machine would sell for
          amount listed.                                                       $15,000.00      Liquidation                        $15,000.00


          Evolve Machine

          Subject to UCC-1
          Value arrived at by reviewing similar machine
          online.
          Debtor is unsure if machine would sell for
          amount listed.                                                       $89,950.00      Comparable sale                    $89,950.00


          Tempsure and Tempsure Firm Machine

          Subject to UCC-1
          Value arrived at by reviewing similar machine
          online.
          Debtor is unsure if machine would sell for
          amount listed.                                                       $25,000.00      Liquidation                        $25,000.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                     page 4
          Case 23-02101-MM7                   Filed 07/25/23        Entered 07/25/23 13:31:20                  Doc 1    Pg. 12 of 42


Debtor        New Beginnings Health Care, A Professional Medical                       Case number (If known)
              Corporation
              Name

           Mona Lisa Touch Vagina Laser

           Subject to UCC-1
           Value arrived at by reviewing similar machine
           online.
           Debtor is unsure if machine would sell for
           amount listed.                                                      $29,950.00       Liquidation                          $29,950.00




51.        Total of Part 8.                                                                                                     $159,900.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used     Current value of
                                                                      debtor's interest         for current value         debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Website                                                                   $0.00      Liquidation                                 $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 5
         Case 23-02101-MM7                   Filed 07/25/23            Entered 07/25/23 13:31:20                Doc 1   Pg. 13 of 42


Debtor        New Beginnings Health Care, A Professional Medical                           Case number (If known)
              Corporation
              Name


             No
             Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 6
          Case 23-02101-MM7                              Filed 07/25/23                   Entered 07/25/23 13:31:20                          Doc 1       Pg. 14 of 42


Debtor          New Beginnings Health Care, A Professional Medical                                                  Case number (If known)
                Corporation
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $1,652.71

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $47,008.96

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $2,549.53

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                          $11,515.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $159,900.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $222,626.20           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $222,626.20




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 7
          Case 23-02101-MM7                        Filed 07/25/23               Entered 07/25/23 13:31:20                   Doc 1          Pg. 15 of 42

Fill in this information to identify the case:

Debtor name         New Beginnings Health Care, A Professional Medical Corporation

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Balboa Capital Solutions                     Describe debtor's property that is subject to a lien                 $168,138.91                 $15,000.00
      Creditor's Name                              Body Sculpting Laser

                                                   Subject to UCC-1
                                                   Value arrived at by reviewing similar machine
                                                   online.
      575 Anton Boulevard, 12th                    Debtor is unsure if machine would sell for
      Floor                                        amount listed.
      Costa Mesa, CA 92626
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      3/19                                            Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5037
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Bankers Health Group                         Describe debtor's property that is subject to a lien                   $59,034.56                      $0.00
      Creditor's Name                              Loan
      201 Solar Street
      Syracuse, NY 13204
      Creditor's mailing address                   Describe the lien
                                                   Purchase Money Security/ UCC1
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      02/17                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 4
         Case 23-02101-MM7                        Filed 07/25/23               Entered 07/25/23 13:31:20                    Doc 1        Pg. 16 of 42

             New Beginnings Health Care, A Professional Medical
Debtor       Corporation                                                                          Case number (if known)
             Name

      4568
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   LCA Bank Corp                               Describe debtor's property that is subject to a lien                     $171,662.00         $89,950.00
      Creditor's Name                             Evolve Machine

                                                  Subject to UCC-1
                                                  Value arrived at by reviewing similar machine
                                                  online.
                                                  Debtor is unsure if machine would sell for
      PO Box 1650                                 amount listed.
      Troy, MI 48099-1650
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/21                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0562
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Marlin Capital Solutions                    Describe debtor's property that is subject to a lien                      $61,177.10         $25,000.00
      Creditor's Name                             Tempsure and Tempsure Firm Machine

                                                  Subject to UCC-1
                                                  Value arrived at by reviewing similar machine
                                                  online.
                                                  Debtor is unsure if machine would sell for
      300 Fellowship Road                         amount listed.
      Mount Laurel, NJ 08054
      Creditor's mailing address                  Describe the lien
                                                  Purchase Money Security
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/19                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0495
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 4
          Case 23-02101-MM7                        Filed 07/25/23               Entered 07/25/23 13:31:20                    Doc 1        Pg. 17 of 42

              New Beginnings Health Care, A Professional Medical
Debtor        Corporation                                                                          Case number (if known)
              Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.5    Pawnee                                      Describe debtor's property that is subject to a lien                      $65,251.68            $29,950.00
       Creditor's Name                             Mona Lisa Touch Vagina Laser

                                                   Subject to UCC-1
                                                   Value arrived at by reviewing similar machine
                                                   online.
                                                   Debtor is unsure if machine would sell for
       3801 Automation Way, #207                   amount listed.
       Fort Collins, CO 80525
       Creditor's mailing address                  Describe the lien
                                                   Purchase Money Security
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       3/19                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8437
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.            $525,264.25

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
        Bankers Health Group
        10234 W State Road 84                                                                                Line   2.2
        Davie, FL 33324

        Gerorge T. Gost, Esq.
        Law Offices of Hemar, Rousso & Heald LLP                                                             Line   2.3
        15910 Ventura Blvd., 12th Floor
        Encino, CA 91436

        Huntington National Bank
        PO Box 77077                                                                                         Line   2.4
        Minneapolis, MN 55480-7777

        Marlin Business Bank
        2795 E Cottonwood Pkwy                                                                               Line   2.4
        Salt Lake City, UT 84121




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 3 of 4
         Case 23-02101-MM7          Filed 07/25/23        Entered 07/25/23 13:31:20                 Doc 1   Pg. 18 of 42

          New Beginnings Health Care, A Professional Medical
Debtor    Corporation                                                      Case number (if known)
          Name

      Martina A. Rider Porter, Esq.
      Law Offices of Hemar, Rousso & Heald LLP                                     Line   2.3
      15910 Ventura Blvd., 12th Floor
      Encino, CA 91436

      Michelle A. Chiongson, Esq.
      Balboa Capital Corporation                                                   Line   2.1
      575 Anton Boulevard, 12th Floor
      Costa Mesa, CA 92626

      State Exchange Bank
      1280 Main Street                                                             Line   2.2
      Lamont, OK 74643




Official Form 206D      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                  page 4 of 4
          Case 23-02101-MM7                       Filed 07/25/23               Entered 07/25/23 13:31:20                            Doc 1         Pg. 19 of 42

Fill in this information to identify the case:

Debtor name        New Beginnings Health Care, A Professional Medical Corporation

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $218,295.00
          8911 Building LLC                                                    Contingent
          10721 Treena Street, Suite 200                                       Unliquidated
          San Diego, CA 92131                                                  Disputed
          Date(s) debt was incurred 2017
                                                                            Basis for the claim: Rent for Medical Practice $4,455.00 per month
          Last 4 digits of account number                                   4 years 8 months left
                                                                            Suite 101-103
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,858.71
          Amazon Business                                                      Contingent
          PO Box 981535                                                        Unliquidated
          El Paso, TX 79998-7268
                                                                               Disputed
          Date(s) debt was incurred 2022
                                                                            Basis for the claim: Credit Card Debt (Unsecured)
          Last 4 digits of account number 1009
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $51,187.50
          Aquina Health                                                        Contingent
          3300 Highlands Pky S                                                 Unliquidated
          Smyrna, GA 30082
                                                                               Disputed
          Date(s) debt was incurred 5/21 and 12/21
                                                                            Basis for the claim: #BG01 and #BG02
          Last 4 digits of account number                                   Lawsuit #23100384
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $15,585.92
          McKesson                                                             Contingent
          9954 Mayland Drive, Suite 4000                                       Unliquidated
          Henrico, VA 23233
                                                                               Disputed
          Date(s) debt was incurred 2021
                                                                            Basis for the claim: Supplies
          Last 4 digits of account number 3199
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 3
                                                                                                          50893
          Case 23-02101-MM7                      Filed 07/25/23               Entered 07/25/23 13:31:20                            Doc 1         Pg. 20 of 42

             New Beginnings Health Care, A Professional Medical
Debtor       Corporation                                                                            Case number (if known)
             Name

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $160,157.00
          Meridian Equipment Finance                                           Contingent
          9 Old Lincoln Highway                                                Unliquidated
          Malvern, PA 19355
                                                                               Disputed
          Date(s) debt was incurred 3/21
                                                                           Basis for the claim: Evoke Machine
          Last 4 digits of account number 1001                             Repossed 2/23
                                                                           Is the claim subject to offset?     No       Yes

3.6       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $7,230.08
          Merz                                                                 Contingent
          6501 Six Forks Road                                                  Unliquidated
          Raleigh, NC 27619
                                                                               Disputed
          Date(s) debt was incurred 2022
                                                                           Basis for the claim: Supplies
          Last 4 digits of account number 0433
                                                                           Is the claim subject to offset?     No       Yes

3.7       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $30,000.00
          Patricia Deckert                                                     Contingent
          17312 Kumeyai Trail                                                  Unliquidated
          Alpine, CA 91901                                                     Disputed
          Date(s) debt was incurred 2022
                                                                           Basis for the claim: Loan
          Last 4 digits of account number
                                                                           Is the claim subject to offset?     No       Yes

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $150,000.00
          SBA                                                                  Contingent
          EIDL Loan                                                            Unliquidated
          PO Box 3918
                                                                               Disputed
          Portland, OR 97208-3918
                                                                           Basis for the claim: Loan
          Date(s) debt was incurred 8/20
                                                                           Junior UCC1 U200007463330
          Last 4 digits of account number 8103
                                                                           Is the claim subject to offset?     No       Yes

3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $73,391.60
          Stearns                                                              Contingent
          500 13th Street                                                      Unliquidated
          Albany, MN 56307
                                                                               Disputed
          Date(s) debt was incurred 3/20
                                                                           Basis for the claim: Optimas Laser
          Last 4 digits of account number 0788                             Subject to UCC-1
                                                                           Property repossessed 3/23
                                                                           Is the claim subject to offset?     No       Yes

3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $86,213.53
          Wells Fargo                                                          Contingent
          PO Box 6995                                                          Unliquidated
          Portland, OR 97228-6998
                                                                               Disputed
          Date(s) debt was incurred 2013-2022
                                                                           Basis for the claim: Credit Card Debt (Unsecured)
          Last 4 digits of account number
                                                                           #1470 $119.15, #7037 $47,900.00, #2227 $38,194.38
                                                                           Is the claim subject to offset?     No       Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
          Case 23-02101-MM7                     Filed 07/25/23              Entered 07/25/23 13:31:20                         Doc 1         Pg. 21 of 42

            New Beginnings Health Care, A Professional Medical
Debtor      Corporation                                                                         Case number (if known)
            Name

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                              On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                related creditor (if any) listed?               account number, if
                                                                                                                                                any
4.1       Alexander V. Hettena, Esq.
          The Hettena Law Firm                                                                  Line     3.4
          31348 Via Colinas #106
                                                                                                       Not listed. Explain
          Westlake Village, CA 91362

4.2       PW Funding II, LLC
          c/o Scott Stevenson / Wong Fleming                                                    Line     3.3
          2675 Paces Ferry Road, #100
                                                                                                       Not listed. Explain
          Atlanta, GA 30339

4.3       Saldutti Law Group
          Robert L. Saldutti, Esq.                                                              Line     3.5
          1700 Market Street, Suite 1005
                                                                                                       Not listed. Explain
          Philadelphia, PA 19103

4.4       Stearns Bank Equipment Finance
          PO Box 327                                                                            Line     3.9
          Albany, MN 56307-0327
                                                                                                       Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                       5a.         $                          0.00
5b. Total claims from Part 2                                                                       5b.    +    $                    795,919.34

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                            5c.         $                      795,919.34




Official Form 206 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 3
        Case 23-02101-MM7                    Filed 07/25/23             Entered 07/25/23 13:31:20                    Doc 1        Pg. 22 of 42

Fill in this information to identify the case:

Debtor name       New Beginnings Health Care, A Professional Medical Corporation

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Rent for Medical
           lease is for and the nature of        Practice
           the debtor's interest                 Suite 101-103

               State the term remaining          4 years 9 months
                                                                                    8911 Building LLC
           List the contract number of any                                          10721 Treena Street, Suite 200
                 government contract                                                San Diego, CA 92131




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
         Case 23-02101-MM7                 Filed 07/25/23            Entered 07/25/23 13:31:20                   Doc 1        Pg. 23 of 42

Fill in this information to identify the case:

Debtor name      New Beginnings Health Care, A Professional Medical Corporation

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Patricia Deckert            17312 Kumeyai Trail                                       Aquina Health                      D
                                      Alpine, CA 91901                                                                             E/F       3.3
                                                                                                                                   G




   2.2    Patricia Deckert            17312 Kumeyai Trail                                       Bankers Health                     D   2.2
                                      Alpine, CA 91901                                          Group                              E/F
                                                                                                                                   G




   2.3    Patricia Deckert            17312 Kumeyai Trail                                       Balboa Capital                     D   2.1
                                      Alpine, CA 91901                                          Solutions                          E/F
                                                                                                                                   G




   2.4    Patricia Deckert            17312 Kumeyai Trail                                       Marlin Capital                     D   2.4
                                      Alpine, CA 91901                                          Solutions                          E/F
                                                                                                                                   G




   2.5    Patricia Deckert            17312 Kumeyai Trail                                       Pawnee                             D   2.5
                                      Alpine, CA 91901                                                                             E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
         Case 23-02101-MM7              Filed 07/25/23         Entered 07/25/23 13:31:20                   Doc 1   Pg. 24 of 42


          New Beginnings Health Care, A Professional Medical
Debtor    Corporation                                                             Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Patricia Deckert         17312 Kumeyai Trail                                 LCA Bank Corp                      D   2.3
                                   Alpine, CA 91901                                                                       E/F
                                                                                                                          G




  2.7     Patricia Deckert         17312 Kumeyai Trail                                 Stearns                            D
                                   Alpine, CA 91901                                                                       E/F   3.9
                                                                                                                          G




  2.8     Patricia Deckert         17312 Kumeyai Trail                                 SBA                                D
                                   Alpine, CA 91901                                                                       E/F   3.8
                                                                                                                          G




  2.9     Patricia Deckert         17312 Kumeyai Trail                                 Meridian Equipment                 D
                                   Alpine, CA 91901                                    Finance                            E/F   3.5
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
          Case 23-02101-MM7                  Filed 07/25/23            Entered 07/25/23 13:31:20                      Doc 1      Pg. 25 of 42




Fill in this information to identify the case:

Debtor name         New Beginnings Health Care, A Professional Medical Corporation

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $443,292.00
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $1,307,898.00
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                             $1,430,482.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case 23-02101-MM7                   Filed 07/25/23            Entered 07/25/23 13:31:20                        Doc 1       Pg. 26 of 42

Debtor       New Beginnings Health Care, A Professional Medical                                 Case number (if known)
             Corporation

    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Patricia Deckert                                      7/22-6/23                        $72,000.00           Compensation
             8911 La Mesa Blvd., Suite 101
             La Mesa, CA 91942
             President

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property

      Stearns                                          Optimas Laser                                                   3/2023                     $27,000.00
      500 13th Street                                  Subject to UCC-1
      Albany, MN 56307                                 Repossessed and sold for 27,000.00

      Meridian Equipment Finance                       Evoke Machine                                                   2/23                        Unknown
      9 Old Lincoln Highway                            Repossessed
      Malvern, PA 19355


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Balboa Capital vs. New                    Collection                  Orange County Superior                        Pending
             Beginnings et al.                                                     Court                                         On appeal
             30-2022-01249903-CU-CL-CJC                                            700 Civic Center Drive
                                                                                                                                 Concluded
                                                                                   Santa Ana, CA 92701

      7.2.   LCA Bank vs. New                          Collection                  San Diego Superior Court                      Pending
             Beginnings, et al.                                                    330 West Broadway                             On appeal
             37-2023-00004267-CU-CO-CTL                                            San Diego, CA 92101
                                                                                                                                 Concluded




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
          Case 23-02101-MM7                  Filed 07/25/23             Entered 07/25/23 13:31:20                     Doc 1       Pg. 27 of 42

Debtor       New Beginnings Health Care, A Professional Medical                                  Case number (if known)
             Corporation

             Case title                               Nature of case               Court or agency's name and             Status of case
             Case number                                                           address
      7.3.   Meridian Equipment Finance               Civil Action -               Chester County Court of                     Pending
             vs. New Beginnings Health                Collection                   Common Pleas                                On appeal
             Care et al.                                                           201 W. Market Street
                                                                                                                               Concluded
             2023-01739-CT                                                         West Chester, PA 19380

      7.4.   Mckesson vs. New                         Collection                   San Diego Superior Court                    Pending
             Beginnings Health Care                                                330 West Broadway                           On appeal
             37-2023-00018482-CL-CL-CTL                                            San Diego, CA 92101
                                                                                                                               Concluded

      7.5.   PW Funding II, LLC vs. New               Collection                   Superior Court of Cobb                      Pending
             Begiinnings Health Care et al.                                        County                                      On appeal
             23100384                                                              70 Haynes Street
                                                                                                                               Concluded
                                                                                   Marietta, GA 30090


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address             Description of the gifts or contributions                  Dates given                          Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
           Case 23-02101-MM7                     Filed 07/25/23          Entered 07/25/23 13:31:20                       Doc 1     Pg. 28 of 42

Debtor        New Beginnings Health Care, A Professional Medical                                 Case number (if known)
              Corporation

               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Craig E. Dwyer, Esq.
               8745 Aero Drive, Suite 301
               San Diego, CA 92123-1763                   Attorney Fees                                                 2023                     $10,000.00

               Email or website address
               craigedwyer@aol.com

               Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care
      15.1.    New Beginnings Health Care              Primary Care for Adults                                                    Approximately 7668
               8911 La Mesa Blvd., Suite                                                                                          (not all active)
               101
                                                       Location where patient records are maintained (if different from           How are records kept?
               La Mesa, CA 91942
                                                       facility address). If electronic, identify any service provider.
                                                       Electronically- Provider is Amazing Charts                                 Check all that apply:
                                                       Paper Records - A-1 Storage
Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 4
          Case 23-02101-MM7                   Filed 07/25/23            Entered 07/25/23 13:31:20                      Doc 1      Pg. 29 of 42

Debtor        New Beginnings Health Care, A Professional Medical                                Case number (if known)
              Corporation

                Facility name and address              Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

                                                                                                                                    Electronically
                                                                                                                                    Paper


Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Electronic Medical Records
                 Does the debtor have a privacy policy about that information?
                   No
                    Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of           Type of account or          Date account was                Last balance
              Address                                  account number             instrument                  closed, sold,               before closing or
                                                                                                              moved, or                            transfer
                                                                                                              transferred
      18.1.     California Bank and Trust              XXXX-5241                     Checking                 July 2023                                $0.00
                                                                                     Savings
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other

      18.2.     California Bank and Trust              XXXX-5258                     Checking                 July 2023                                $0.00
                                                                                     Savings
                                                                                     Money Market
                                                                                     Brokerage
                                                                                     Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address               Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
                                                            Address


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 5
         Case 23-02101-MM7                    Filed 07/25/23             Entered 07/25/23 13:31:20                      Doc 1         Pg. 30 of 42

Debtor      New Beginnings Health Care, A Professional Medical                                   Case number (if known)
            Corporation

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      A1 Storage                                             Ivan Arevalo, Office                  Old furniture                                  No
      556 W. Main Street                                     Manager                               Patient records                                Yes
      El Cajon, CA 92020                                     8911 La Mesa Blvd., Suite
                                                             101
                                                             La Mesa, CA 91942

      A1 Storage                                             Ivan Arevalo, Office                  Old furniture                                  No
      4981 Spring Street                                     Manager                               Patient records                                Yes
      La Mesa, CA 91942                                      8911 La Mesa Blvd., Suite
                                                             101
                                                             La Mesa, CA 91942



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?




Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 6
         Case 23-02101-MM7                    Filed 07/25/23            Entered 07/25/23 13:31:20                       Doc 1         Pg. 31 of 42

Debtor      New Beginnings Health Care, A Professional Medical                                  Case number (if known)
            Corporation



           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Roberts Business Services                                                                                          2001 to present
                    8080 La Mesa Blvd, Suite 102
                    La Mesa, CA 91942

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Roberts Business Services                                                                                          2001 to present
                    8080 La Mesa Blvd, Suite 102
                    La Mesa, CA 91942

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Roberts Business Services
                    8080 La Mesa Blvd, Suite 102
                    La Mesa, CA 91942

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Matt Carlucci
                    MMP Capital
                    19 Engineers Lane
                    Farmingdale, NY 11735

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 7
         Case 23-02101-MM7                   Filed 07/25/23            Entered 07/25/23 13:31:20                      Doc 1     Pg. 32 of 42

Debtor      New Beginnings Health Care, A Professional Medical                                 Case number (if known)
            Corporation


           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory
      27.1 Ivan Arevalo and Rita Paredes                                           12/30/22
      .                                                                            12/31/21                 16,319.15         20,132.61

             Name and address of the person who has possession of
             inventory records
             Roberts Business Services
             Attention: Jody
             8080 La Mesa Blvd., Suite 102
             La Mesa, CA 91942


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any               % of interest, if
                                                                                                 interest                                 any
      Patricia Deckert                       8911 La Mesa Blvd., Suite 101                       President/CEO                            100
                                             La Mesa, CA 91942



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Patricia Deckert
      .    17312 Kumeyai Trail
             Alpine, CA 91901                         72,000.00                                                 7/22-6/23           Compensation

             Relationship to debtor
             President


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 8
         Case 23-02101-MM7                   Filed 07/25/23             Entered 07/25/23 13:31:20                      Doc 1    Pg. 33 of 42

Debtor      New Beginnings Health Care, A Professional Medical                                  Case number (if known)
            Corporation


   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 25, 2023

/s/ Patricia Deckert                                            Patricia Deckert
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   President/CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 9
        Case 23-02101-MM7              Filed 07/25/23         Entered 07/25/23 13:31:20   Doc 1   Pg. 34 of 42




Revised: 1/24/13
Name, Address, Telephone No. & I.D. No.
Craig E. Dwyer
8745 Aero Drive, Suite 301
San Diego, CA 92123-1763
858-268-9909
74351 CA

              UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
             325 West "F" Street, San Diego, California 92101-6991


In Re
New Beginnings Health Care, A Professional Medical Corporation            BANKRUPTCY NO.
Tax I.D. / S.S. #: XX-XXXXXXX
                                                        Debtor.



                                UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
                        RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
                                      AND THEIR ATTORNEY
In order for debtors and their attorneys to understand their rights and responsibilities in the bankruptcy process,
the following terms of engagement are hereby agreed to by the parties.

Nothing in this agreement should be construed to excuse an attorney from any ethical duties or responsibilities
under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy Rules.

                                                        I.
                                  Services Included in the Initial Fee Charged
The following are services that an attorney must provide as part of the initial fee charged for representation in a
Chapter 7 case:
1.      Meet with the debtor to review the debtor’s assets, liabilities, income and expenses.
2.      Analyze the debtor’s financial situation, and render advice to the debtor in determining whether to file a
        petition in bankruptcy.
3.      Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the debtor
        regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer the debtor’s questions.
4.      Advise the debtor of the requirement to attend the Section 341(a) Meeting of Creditors, and instruct the
        debtor as to the date, time and place of the meeting.
5.      Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
        vehicles securing loans or leases.
      Case 23-02101-MM7         Filed 07/25/23     Entered 07/25/23 13:31:20         Doc 1    Pg. 35 of 42




6.     Timely prepare, file and serve, as required, the debtor's petition, schedules, Statement of Financial
       Affairs, and any necessary amendments to Schedule C.
7.     Provide documents pursuant to the Trustee Guidelines and any other information requested by the
       Chapter 7 Trustee or the Office of the United State Trustee.
8.     Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their Attorneys to
       the debtor.
9.     Appear and represent the debtor at the Section 341(a) Meeting of Creditors, and any continued meeting,
       except as further set out in Section II.
10.    File the Certificate of Debtor Education if completed by the debtor and provided to the attorney before
       the case is closed.
11.    Attorney shall have a continuing obligation to assist the debtor by returning telephone calls, answering
       questions and reviewing and sending correspondence.
12.    Respond to and defend objections to claim(s) of exemption arising from attorney error(s) in Schedule C.

                                                II.
                      Services Included as Part of Chapter 7 Representation,
                                   Subject to an Additional Fee
The following are services, included as part of the representation of the debtor, but for which the attorney may
charge additional fees.
1.     Representation at any continued meeting of creditors due to client’s failure to appear or failure to
       provide required documents or acceptable identification;
2.     Amendments, except that no fee shall be charged for any amendment to Schedule C that may be
       required as a result of attorney error;
3.     Opposing Motions for Relief from Stay;
4.     Reaffirmation Agreements and hearings on Reaffirmation Agreements;
5.     Redemption Motions and hearings on Redemption Motions;
6.     Preparing, filing, or objecting to Proofs of Claims, when appropriate, and if applicable;
7.     Representation in a Motion to Dismiss or Convert debtor’s case;
8.     Motions to Reinstate or Extend the Automatic Stay;
9.     Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or asset
       administration issues.

                                                        2
      Case 23-02101-MM7          Filed 07/25/23     Entered 07/25/23 13:31:20       Doc 1     Pg. 36 of 42




                                             III.
           Additional Services Not Included in the Initial Fee Which Will Require a
                                   Separate Fee Agreement
The following services are not included as part of the representation in a Chapter 7 case, unless the attorney and
debtor negotiate representation in these post-filing matters at mutually agreed upon terms in advance of any
obligation of the attorney to render services. Unless a new fee agreement is negotiated between debtor and
attorney, attorney will not be required to represent the debtor in these matters:
1.     Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint to determine
       Dischargeability of Debt;
2.     Defense of a Complaint objecting to discharge;
3.     Objections to Claim of Exemption, except where an objection arises due to an error on Schedule C;
4.     Sheriff levy releases;
5.     Section 522(f) Lien Avoidance Motions;
6.     Opposing a request for, or appearing at a 2004 examination;
7.     All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other
       Property;
8.     Motions or other proceedings to enforce the automatic stay or discharge injunction;
9.     Filing or responding to an appeal;
10.    An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C. Section 586(f).

                                                 IV.
                                Duties and Responsibilities of the Debtor
As the debtor filing for a Chapter 7 bankruptcy, you must:
1.     Fully disclose everything you own, lease, or otherwise believe you have a right or interest in prior to
       filing the case;
2.     List everyone to whom you owe money, including your friends, relatives or someone you want to repay
       after the bankruptcy is filed;
3.     Provide accurate and complete financial information;
4.     Provide all requested information and documentation in a timely manner, in accordance with the
       Chapter 7 Trustee Guidelines;
5.     Cooperate and communicate with your attorney;

                                                        3
      Case 23-02101-MM7            Filed 07/25/23      Entered 07/25/23 13:31:20       Doc 1       Pg. 37 of 42




6.       Discuss the objectives of the case with your attorney before you file;
7.       Keep the attorney updated with any changes in contact information, including email address;
8.       Keep the attorney updated on any and all collection activities by any creditor, including lawsuits,
         judgments, garnishments, levies and executions on debtor’s property;
9.       Keep the attorney updated on any changes in the household income and expenses;
10.      Timely file all statutorily required tax returns;
11.      Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;
12.      Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of Creditors;
13.      Bring proof of social security number and government issued photo identification to the Section 341(a)
         Meeting of Creditors;
14.      Provide date-of-filing bank statements to the attorney no later than 7 days after filing of your case;
15.      Pay all required fees prior to the filing of the case;
16.      Promptly pay all required fees in the event post filing fees are incurred;
17.      Debtors must not direct, compel or demand their attorney to take a legal position or oppose a motion in
         violation of any Ethical Rule, any Rule of Professional Conduct, or Federal Rule that is not well
         grounded in fact or law.
Dated:    July 25, 2023                                      /s/ Patricia Deckert
                                                             Patricia Deckert
                                                             Debtor

Dated:    July 25, 2023                                      /s/ Craig E. Dwyer
                                                             Craig E. Dwyer
                                                             Attorney for Debtor(s)




                                                              4
           Case 23-02101-MM7                   Filed 07/25/23           Entered 07/25/23 13:31:20                    Doc 1        Pg. 38 of 42

B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                            Southern District of California
 In re       New Beginnings Health Care, A Professional Medical Corporation                                   Case No.
                                                                Debtor(s)                                     Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 10,000.00
             Prior to the filing of this statement I have received                                        $                 10,000.00
             Balance Due                                                                                  $                       0.00

2.    $     338.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]


7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation in any adversary or any dischargeability actions, reaffirmation of debt negotiations and hearing,
              judicial lien avoidances, relief from stay actions or any related motions or objections submitted after filing of the
              case by a trustee, creditor or any party in interest to this case.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 25, 2023                                                            /s/ Craig E. Dwyer
     Date                                                                     Craig E. Dwyer
                                                                              Signature of Attorney
                                                                              Craig E. Dwyer, Esq.
                                                                              8745 Aero Drive, Suite 301
                                                                              San Diego, CA 92123-1763
                                                                              858-268-9909 Fax: 858-268-4230
                                                                              craigedwyer@aol.com
                                                                              Name of law firm
        Case 23-02101-MM7                  Filed 07/25/23           Entered 07/25/23 13:31:20                   Doc 1        Pg. 39 of 42

CSD 1008 [08/21/00]
Name, Address, Telephone No. & I.D. No.
Craig E. Dwyer
8745 Aero Drive, Suite 301
San Diego, CA 92123-1763
858-268-9909
74351 CA

                  UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF CALIFORNIA
        325 West "F" Street, San Diego, California 92101-6991


In Re
New Beginnings Health Care, A Professional Medical Corporation
                                                                                        BANKRUPTCY NO.



                                                                       Debtor.

                                                VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

    New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS: 26

    Conversion filed on               . See instructions on reverse side.
             Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
             Post-petition creditors added. Scannable matrix required.
             There are no post-petition creditors. No matrix required.

    Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
    Equity Security Holders. See instructions on reverse side.
                       Names and addresses are being ADDED.
                       Names and addresses are being DELETED.
                       Names and addresses are being CORRECTED.

PART II (check one):

    The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

    The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
    the filing of a matrix is not required.




Date:    July 25, 2023                                      /s/ Patricia Deckert
                                                            Patricia Deckert/President/CEO
                                                            Signer/Title




                                               REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
    Case 23-02101-MM7   Filed 07/25/23   Entered 07/25/23 13:31:20   Doc 1   Pg. 40 of 42



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                         8911 Building LLC
                         10721 Treena Street, Suite 200
                         San Diego, CA 92131



                         Alexander V. Hettena, Esq.
                         The Hettena Law Firm
                         31348 Via Colinas #106
                         Westlake Village, CA 91362



                         Amazon Business
                         PO Box 981535
                         El Paso, TX 79998-7268



                         Aquina Health
                         3300 Highlands Pky S
                         Smyrna, GA 30082



                         Balboa Capital Solutions
                         575 Anton Boulevard, 12th Floor
                         Costa Mesa, CA 92626



                         Bankers Health Group
                         201 Solar Street
                         Syracuse, NY 13204



                         Bankers Health Group
                         10234 W State Road 84
                         Davie, FL 33324



                         Gerorge T. Gost, Esq.
                         Law Offices of Hemar, Rousso & Heald LLP
                         15910 Ventura Blvd., 12th Floor
                         Encino, CA 91436



                         Huntington National Bank
                         PO Box 77077
                         Minneapolis, MN 55480-7777
Case 23-02101-MM7   Filed 07/25/23   Entered 07/25/23 13:31:20   Doc 1   Pg. 41 of 42




                     LCA Bank Corp
                     PO Box 1650
                     Troy, MI 48099-1650



                     Marlin Business Bank
                     2795 E Cottonwood Pkwy
                     Salt Lake City, UT 84121



                     Marlin Capital Solutions
                     300 Fellowship Road
                     Mount Laurel, NJ 08054



                     Martina A. Rider Porter, Esq.
                     Law Offices of Hemar, Rousso & Heald LLP
                     15910 Ventura Blvd., 12th Floor
                     Encino, CA 91436



                     McKesson
                     9954 Mayland Drive, Suite 4000
                     Henrico, VA 23233



                     Meridian Equipment Finance
                     9 Old Lincoln Highway
                     Malvern, PA 19355



                     Merz
                     6501 Six Forks Road
                     Raleigh, NC 27619



                     Michelle A. Chiongson, Esq.
                     Balboa Capital Corporation
                     575 Anton Boulevard, 12th Floor
                     Costa Mesa, CA 92626



                     Patricia Deckert
                     17312 Kumeyai Trail
                     Alpine, CA 91901
Case 23-02101-MM7   Filed 07/25/23   Entered 07/25/23 13:31:20   Doc 1   Pg. 42 of 42




                     Pawnee
                     3801 Automation Way, #207
                     Fort Collins, CO 80525



                     PW Funding II, LLC
                     c/o Scott Stevenson / Wong Fleming
                     2675 Paces Ferry Road, #100
                     Atlanta, GA 30339



                     Saldutti Law Group
                     Robert L. Saldutti, Esq.
                     1700 Market Street, Suite 1005
                     Philadelphia, PA 19103



                     SBA
                     EIDL Loan
                     PO Box 3918
                     Portland, OR 97208-3918



                     State Exchange Bank
                     1280 Main Street
                     Lamont, OK 74643



                     Stearns
                     500 13th Street
                     Albany, MN 56307



                     Stearns Bank Equipment Finance
                     PO Box 327
                     Albany, MN 56307-0327



                     Wells Fargo
                     PO Box 6995
                     Portland, OR 97228-6998
